Case 16-31237 Document 19 Filed in TXSB on 03/16/16

   

Fill in this information to identify your case:

  

Debtor 1 Larg/ Scott Roqers
Firsf Name Nllddle Name Last Name

  
        
  
  

 

  
 

Debtor 2
(Spouse, if t”lling) First Name

 

    
 

Midd|e Name l_ast Name

  
   

United States Banl<ruptcy Court for the: SOUTHERN DlSTR|CT OF TEXAS

  

Case number
(if known)

 

 
 

 

Officia| Form 107

 

Page 1 of 9

|:| Check if this is an
amended filing

- Statement of Financial Afl"airs for Individuals Fi|ing for Bankruptcy

121'15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying
correct information. lf more space is naecled, attach a separate sheet to this form. On the top of any additional pages, write

your name and case number (if known}. Answer every question.

 

1. What is your current marital status?
|z[ Nlarried
n Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

|:|No

EI Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

7 Give Detai!s About Your llllarital Status and Where ¥ou Lived Before

 

 

 

 

 

 

 

 

 

 

 

Debtor1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
|:| Sarne as Debtor 1 |:| Same as Debtor 1
8162 Little Scarlet FrDm 2012 Fl'Om
Number Slreel Number Slreet
TD 2014 TO
Conroe TX 77384
city Siaie zlP code city stare zlP code
Debtor 1: Dates Debtor ‘l Debtor 2: Dates Debtor 2
lived there lived there
m Same as Debtor 1 m Same as Debt0r1
514 Fern Trace Court From 2011 From
Number Slreet Number Street
TO 2013 TO
Spring TX 77386
Cily State Z|P Code City Slate Z|P Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
(Commum'ty property states and tem'tories include Arizona, Ca|ifornia. |daho, Louisiana, Nevada, New lvlexico, Puerto Rico, Texas,

Washington, and Wisconsin.)

END

M Yes. Nlake sure you fill out Schedule H: Your Codebtors {OHicial Form 106|~§}.

Official Form 107

Statement of Financia| Affairs for individuals Filing for Bankruptcy

page 1

Debtor 1 Larry

Case 1§-311237 Docu{ment 19 Filed in TXSB on 03/16/16 Page 2 019
co ogers

Case number (if known)
First Name M|dd|e Name Last Name

m Explain the Sources of Your income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fiii in the total amount of income you received from all jobs and ali businesses, including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
|:[ No
M Yes. Fill in the details.
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions Check ali that apply. (before deductions
and exclusions and exclusions
From January 1 of the current year until |:l Wages. commissionsl $10,0¢]0_00 |:| Wages, commissions.
the date you filed for bankruptcy: bonuses. tips bonuses. tips
M Operating a business n Operating a business
For the last calendar year: |:| Wages, oomrnissions. $zlgog,goo_gg m Wages. commissions,
J 1 t D b 31 bonuses, tips bonuses, tips
o eoem er , , , . .
( anuary M) M Operating a business l:| Operatirig a business
For the calendar year before that: ]:[ Wages, commissions, $551’531_[)0 n Wages, commissions,
J 1 l D b 31 bonuses, tips bonuses. tips
anua o ecem , , , . .
{ ry er W) M Operating a business g Operating a business

Did you receive any other income during this year or the two previous calendar years?

include income regardless of whetherthat income is taxable Examples of other income are alimony; child support; Socia| Security;
unemployment and other public benefit payments; pensions; rental income; interest; dividends; money collected from |awsuits; royalties;
and gambling and lottery winnings. if you are in a joint case and you have income that you received together, list it only once under
Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

L?__[No

m Yes. Fill in the detai|s.

Officia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

Debtor 1 Lmy Case 1§-`§)11237 Docgro‘ré§lrgt 19 Filed in TS(SB 093[0§£1)§416 Page 3 019

856 file
First Name Middle Name Last Name

 

List Certairi Payments You Made Before You Filed for Bankruptcy
6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

M No. Neither Debtor 'i nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
"incurred by an individual primarily for a personal, famiiy, or household purpose.“

During the 90 days before you filed for bankruptcy. did you pay any creditor a total of $6.225* or more?
No. Go to line 7.

Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4101/ 16 and every 3 years after that for cases filed on or after the date of adjustment.

|:| Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy. did you pay any creditor a total of $600 or more?
|:| No. Go to line T_

|:| Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor_ Do not include payments for domestic support obligations, such as child support and alimony.
Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officerl director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations
such as child support and aiimony.

mNo

n Yes. Listall payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?

include payments on debts guaranteed or cosigned by an insider.

|:|No

Yes. Listall payments that benedted an insider.

Dates of Total amount Amount you Reason for this payment
payment paid still owe include creditor's name
Cha|ea Marie Rogers General support

 

 

insiders name

 

Number Strcet

 

 

City State ZiP Cocfe

Official Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 3

Debtor1 Larry Case 165»_¢.301{237 DOCLIHI§%@ 19 Filed in T§aseBnucr)nrt])erO(§{<:r|ic§w/n:!'€ Page 4 Of 9

First Name Middle Name Last Name

mldentify Lega| Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modificationsl and contract disputes

m No
g Yes. Fill in the detai|s.

 

 

 

 

 

 

 

 

Case title Nature of the case Court or agency Status of the case
Wil|iams Holding Corporation v. Debt collection; unpaid loan USDC-MD Fla, Tampa Division .
Pendrng
Larry Scott Rogers Coud Name
801 N. Fiorida Avenue m gm appeal
Number Street
Case number 8;15-CV.0[}180_USM m Concluded
Tampa FL 33602
City Slate Z|P Code
Case title Nature of the case Court or agency Status of the case
llllatter of Marriage of Chaiea Divorce; Child Custody; Montgomery County County Court .
l M Pending
Marie Rogers and Larry Scott Court Name
Rogers m On appeal
Number Street
Case number 15_09_09629 |:| Conc|uded
City State Z|F' Code

10. Within 1 year before you filed for hankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
seizedl or levied?
Check all that apply and fill in the details below.

lz[ No. Go to line 11.
n Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, setoff any
amounts from your accounts or refuse to make a payment because you owed a debt?

MNo

n Yes. Fill in the detai|s.

12` Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

M No
|:| Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

ENo

|Z{ Yes. Fill in the details for each gift.

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Vaiue

Pe" P°-"S°“ Month|y child support payments not filed the gifts

cha|ea Marie Rogers through attorney general and not awarded in ongoing $gg’ggo_g(}
Persori to Whom You Gave the Gift any Ol'det'

4400 co||£ge Park Drive $1,000 to $3,000 month for the last 12 months

 

 

Number Slreet

 

Conroe TX 77384
city state zlP code

 

Person's relationship to you Wife--SeEal'a'lf-ld

Offi'cial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

Debtom Larry Case 165§,1@37 Doctli{gbepg 19 Filed in T§a§§]ppep(§{‘pr£/rp[€ Page 5 019

First Name Middie Name Last Name

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
to any charity?

mNo

|:| Yes. Fill in the details for each gift or contribution

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theftl fire,
other dIsaster, or gambling?

g No
M Yes. Fill in the details.

Describe the property you lost and how Describe any insurance coverage for the loss Date of your Value cf property
the loss occurred include the amount that insurance has paid. List pending loss lost
insurance claims on line 33 of Scheduie A/B: Property. February 2015 $10’000_00

$10,000 cash theft

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcyl

g No
sz Yes. Fill in the details

 

 

 

 

 

 

 

 

 

Description and value of any property transferred Date payment Amount of
Kennedy Law, LLP $2000 (potentiai pre-litigation work) °r transfer Was Paymenf
Person Who Was Paid made
1445 Ross Avenue, Suite 2750 $2,000.00
Number Street
Dal|as TX 75202

- Cily Slate ZlP Code

dritter@saklaw.net
Email or website address
Robert Marsh
Person Who Made the Paymentl if Not `(ou

Description and value of any property transferred Date payment Amount of
Kennedy Law LLF or transfer was payment
Person Who Was Paid made
1445 Ross Ayenue, Suite 2750 03709}2016 $2,500.00

 

 

Number Street

 

 

Dalias TX 75202
city state ziP code

 

Email or website address

Robert lillarsh
Person Who Made the Payment, if Not ‘(ou

Official Form 107 Statement of Financiat Affairs for individuals Filing for Bankruptcy page 5

Debmm Larry Case 165§,1£237 Doctlii;ghepg 19 Filed in TX§§MSQ§M€ Page 6 019

17.

‘18.

19.

First Name Middle Name Last Name
Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

g Yes. Fill in the detaiis.

Within 2 years before you filed for bankruptcy, did you stilll trade, or otherwise transfer any property to anyone, other than
property transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property}.
Do not include gifts and transfers that you have already listed on this statementl

|z[No

m Yes. Fill in the detai|s.

Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
you are a beneficiary? (These are often called asset-protection devices.}

No
|:l Yes. Fill in the detai|s.

List Certain Financia| Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

20.

21.

22.

 

Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, closed, soldl moved, or transferred?

include checking savings, money market, or other financial accounts; certificates of deposit; shares in banks. credit unions, brokerage
houses, pension funds, cooperatives, associations and other financial institutionsl

MNo

g Ves. Fill in the detai|s.

Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
for securities, cash, or other valuables?

|2] No
m \’es. Fill in the details.

Have you stored property in a storage unit or place other than your horne within 1 year before you filed for bankruptcy?

MNo

m Yes. Fill in the detai|s.

identify Property You Hold or Controt for Someone Else

23.

Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someonex

No
El Yes. Fill in the detaiis.

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

page 6

newton Larry Case 1€%§,¥¢237 Docuig§apg 19 Filed in T}g§§“ggep(;${(;i@/nif€ Page 7 of 9

First Name Middle Name Last Name

 

Part 10: Give Detaiis About Environmental information

For the purpose of Part 10, the following definitions app|y:

l Enw'ronmenfal' law means any federall state, or local statute or regulation concerning pollutionl contamination. releases of
hazardous or toxic substance, wastes, or material into the airl land, soil, surface water, groundwater, or other madium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materia|.

l Sr'te means any iocation, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize itl including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materiall poilutant, contaminantl or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
law?

|z[No

|:| Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous materiai?

MNo

m Yes. Fill in the detaiis.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and
orders.

l?_'[No

|:| Yes. Fill in the detaiis.

Part 11: Give Detaiis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

m A sole proprietor or self-employed in a trade, profession, or other activiiy, either full-time or pari-time
|:| A member of a limited liability company (LLC) or limited liability partnership [LLP)

|:| A partner in a partnership

|zl An officer, director, or managing executive of a corporation

|:| An owner of at least 5% of the voting or equity securities of a corporation

g No. Norie of the above applies Go to F'art 12.
g Yes. Check all that apply above and fill in the details below for each business

 

 

 

 

 

 

Describe the nature of the business Empioyer identification number
Scottis nain Dea|s DBA E_commerce Do not include Socia| Security number or iTlN.
Business Name

__ EiN:_____-_________

811A We'smger Name of accountant or bookkeeper
Number Street

Dorothy Tay|or Dates business existed

From 2014 To Present

Magnoiia TX 77385
City State ZiP Code

Describe the nature of the business Empioyer identification number
Blueprint Mastermind Online ecommerce Do not include Socia| Security number or iTlN.
Business Name EIN

Name of accountant or bookkeeper
Dorothy Tayior Dates business existed

 

Number Street

 

From To

 

 

City State ZiP Code

Officiai Form 107 Statement of Financial Affairs for lndividuais Filing for Bankruptcy page 7

Debtom Larry Case 1@-&3¢237 Docgg§eligt 19 Filed in ng§§ugpeq§(qo%i€ PageSoiQ

First Name

Scott's FB Deals

Business Name

322 Arbor Trail Lane

Midd|o Name

 

Number Street

 

Conroe TX 77385
City State ZiP Code

Yet 2 Forget

 

Business Name

 

Number Street

 

 

city siaie zip code

Daily Deaiorama, LLC

Business Name

8162 Littie Scarlet

 

Number Street

 

Conroe TX 7?385

 

City State ZiP Code

The Sei|aru Corporation
Business Name

8710 W. Hi|isborough Ave, #243

 

Number Street

 

Tampa FL 33615-3705

city siaie zii= code

Last Name

Describe the nature of the business
Oniine ecommerce

Name of accountant or bookkeeper
Dorothy Taylor

Describe the nature of the business
Online ecommerce

Name of accountant or bookkeeper
Dorothy Taylor

Describe the nature of the business
Ecommerce

Name of accountant or bookkeeper
Dorothy Taylor

Describe the nature of the business
Oniine E-Commerce

Name of accountant or bookkeeper
Dorothy Taylor

Empioyer identification number
Do not include Social Security number or lTiN.

E[N: -

Dates business existed

From To

 

Empioyer identification number
Do not include Social Security number or iTlN.

Dates business existed

From To

 

Empioyer identification number
Do not include Social Security number or iTlN.

Dates business existed

From 2014 Ta Present

 

Empioyer identification number
Do not include Social Security number or iTlN.

Dates business existed

From 2014 To present

 

28. Withln 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include
all financial institutions, creditors, or other parties.

MNo

L__| Yes. Fill iri the details below.

Officiai Form 107

Statement of Financia| Affairs for individuals Filing for Bankruptcy

page B

Debtm Larry Case 1&&§237 DocM@igt 19 Filed in TP,<B§£EALQ\QG,Q§,(AOQ,{,}€ PageriQ

First Name Middie Name Last Name

Part 12: Sign Beiow

l have read the answers on this Statement ofFinanc.iai Affafrs and any attachments, and l declare under penalty of perjury
that answers are true and correct. i understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. § 1152, 1341, 1519, and 3571.

 

X
Larry Scott Rogers, Debtor 1 Signature of Debtor 2

Date ”‘2¢ ic » l(€ Date

 

 

_ Did you attach additional pages to your Statement ofFinanciai Affai'rs for individuals Filing for Bankruptcy {Oft`lciai Form 107)?

M No
m Yes

Did you pay or agree to pay someone who ls not an attorney to help you fill out bankruptcy forms?

. M No
|:l Yes. Name of person Atiach the Bankrupfcy Petifr'on Preparer's Noiice,
Declaraii'ori, and Si'gnature (Officia| Form 119).

 

Otficiai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 9

